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                BEFORE THE UNITED S TATES JUDICIAL PA NEL
                     ON MULTIDISTRICT LITIGATION

IN RE SHORT SQUEEZE ANTITRUST                           MDL Docket No. ___
LITIGATION




         BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION FOR TRANSFER OF
                 ACTIONS PURSUANT TO 28 U.S.C. SECTION 1407

       Pursuant to 28 U.S.C. section 1407 and Rule of Procedure 6.2(e) of the Judicial Panel on

Multidistrict Litigation, Plaintiffs Shane Cheng and Terell Sterling, whose action is pending in

the United States District Court for the Northern District of California (Cheng et al. v. Ally

Financial Inc. et al., Case No. 3:21-cv-00781) (collectively, “Plaintiffs”), respectfully submit this

memorandum of law in support of their Motion for Transfer of the Short Squeeze Actions to the

Northern District of California (“Motion to Transfer”).

                                         BACKGROUND

       Plaintiffs allege that Defendants1 orchestrated a common scheme and conspiracy to fix,

suppress, maintain or stabilize the prices for certain securities, namely, GameStop Corp. (GME),

AMC Entertainment Holdings Inc. (AMC), American Airlines Group Inc. (AAL), Bed Bath &

Beyond Inc. (BBBY), BlackBerry Ltd. (BB), Express, Inc. (EXPR), Koss Corporation (KOSS),

Naked Brand Group Ltd. (NAKD), Nokia Corp. (NOK), Sundial Growers Inc. (SNDL), Tootsie



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 Ally Financial Inc.; Alpaca Securities LLC; Cash App Investing LLC; Square Inc.; Dough LLC;
Morgan Stanley Smith Barney LLC; E*Trade Securities LLC; E*Trade Financial Corporation;
E*Trade Financial Holdings, LLC; eToro USA Securities, Inc.; Freetrade, Ltd.; Interactive
Brokers LLC; M1 Finance, LLC; Open To The Public Investing, Inc.; Robinhood Financial,
LLC; Robinhood Markets, Inc.; Robinhood Securities, LLC; Ig Group Holdings PLC;
Tastyworks, Inc.; TD Ameritrade, Inc.; The Charles Schwab Corporation; Charles Schwab &
Co. Inc.; FF Trade Republic Growth, LLC; Trading 212 Ltd.; Trading 212 UK Ltd.; Webull
Financial LLC; Fumi Holdings, Inc.; Stash Financial, Inc.; Barclays Bank PLC; Citadel
Enterprise Americas, LLC; Citadel Securities LLC; Melvin Capital Management LP; Sequoia
Capital Operations LLC; Apex Clearing Corporation; and The Depository Trust & Clearing
Corporation, (together, the “Defendants”).


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Roll Industries, Inc. (TR), or Trivago N.V. (TRVG) (together, the “Relevant Securities”) sold to

purchasers in the United States. Defendants did so to artificially restrain the trading of these

securities in furtherance of the conspiracy.

       The Cheng action, filed on February 1, 2021, was one of the first antitrust cases to be filed

and is advancing in due course. This action was filed in the Northern District of California

because it is the Judicial District home to the largest number of U.S.-headquartered Defendants.

Plaintiffs have accomplished service on several U.S.-based Defendants and expect to perfect

service soon.

       To date, at least 42 cases have been filed involving similar legal claims related to the

restriction in trading of the Relevant Securities have been filed throughout the nation (attached

as “Exhibit B,” together, the “Short Squeeze Actions”). Of the 42, 14 cases, a clear plurality,

have been filed in California and 10 of the 14 have been filed in the Northern District of

California.2

          Cezana v. Robinhood Financial LLC et al., Case No. 5:21-cv-00759;
          Cheng et al. v. Ally Financial Inc. et al., Case No. 3:21-cv-00781;
          Curiel-Ruth v. Robinhood Securities LLC et al, Case No. 3:21-cv-00829;
          Dalton v. Robinhood Securities, LLC et al, Case No. 4:21-cv-00697; 3:21-cv-00697
          Days v. Robinhood Markets, Inc. et al, Case No. 3:21-cv-00696; 4:21-cv-00696
          Feeney et al v. Robinhood Financial, LLC et al, Case No. 5:21-cv-00833
          Gossett et al v. Robinhood Financial, LLC et al, Case No. 2:21-cv-00837
          Kayali et al v. Robinhood Financial, LLC et al, Case No. 2:21-cv-00835
          Krasowski et al v. Robinhood Financial LLC et al, Case No. 3:21-cv-00758
          Krumenacker v. Robinhood Financial, LLC et al, Case No. 3:21-cv-00838; 4:21-cv-
           00838

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 Cases have been filed in the following district courts: C.D. Cal. (3); D. Co. (1); D. Conn. (2); E.
D. Pa. (1); E. D. Va. (1); M.D. Fla. (4); D.N.J. (3); N.D. Fla. (1); N. Ill. (5); S.D. Cal. (1); S.D.
Fla. (4); S.D.N.Y. (2); S.D. Tex. (2); W.D. Pa. (1). There was also a case filed in the Northern
District of Texas that has since been subsequently dismissed. Simpson v. Robinhood Financial, No.
21-cv-00207-B (N.D. Tex. Feb. 3, 2021), ECF No. 5.


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          Levi Cobos v. Robinhood Financial LLC et al, Case No. 2:21-cv-00843
          Moody et al v. Robinhood Financial, LLC et al, Case No. 3:21-cv-00861
          Nordeen et al v. Robinhood Financial LLC et al, Case No. 3:21-cv-00167
          Wieg v. Robinhood Financial LLC et al, Case No. 5:21-cv-00693
       The Short Squeeze Actions each involve claims against all or nearly all of the Defendants

and challenge essentially the same unlawful conduct related to the restriction of trading in the

Relevant Securities occurring on or around January 28, 2021. They each assert the similar causes

of action—including claims for damages under Section 1 of the Sherman Act, 15 U.S.C. § 1—and

seek similar relief in the form of damages and an injunctive relief. The Short Squeeze Actions are

class actions that have been brought on behalf of a proposed class of persons that directly

purchased the Relevant Securities from Defendants. Each case raises common questions of fact

regarding the nature, scope and extent of Defendants’ unlawful conduct, the scope and extent of

Defendants’ unlawful agreement and other anticompetitive conduct in violation of federal

antitrust law and regulations, state law and the common law; and each case seeks damages in the

form of money damages resulting from Defendants’ unlawful conduct. Each case also seeks trial

by jury.

       The Short Squeeze Actions are in their early stages. No responsive pleadings or

dispositive motions have been ﬁled by any of the Defendants, nor has any discovery been

conducted. Centralization of the Short Squeeze Actions at this early stage will allow the

transferee court to eﬃciently resolve the common factual and legal issues, and to address

overlapping discovery related to these issues.

       Centralization is particularly important given the complex nature of the case. As in

numerous other complex class actions and antitrust class actions in particular, pretrial motion

practice and discovery therefore undoubtedly will involve overlapping issues. Likewise, because

the Short Squeeze Actions assert claims on behalf of overlapping proposed classes, common

questions of fact and law will be resolved in the context of adjudicating motions for class




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certification. Based on past experience, there are a myriad of common issues that will require

determination by the Court. Consequently, there are numerous reasons why these actions should

be centralized in one forum, such as the Northern District of California, and under the careful

management and administration of a single District Judge.

                                           ARGUMENT

   I.      THE PANEL SHOULD CENTRALIZE THE SHORT SQUEEZE ACTIONS
           PURSUANT TO 28 U.S.C. SECTION 1407

           a. Transfer and consolidation are appropriate because the Short Squeeze
              Actions involve one or more common questions of fact and law.

        Considering the substantial legal and factual overlap among the Related Actions, transfer

to and consolidation in a single jurisdiction will ensure efficient pretrial proceedings. 28 U.S.C.

§ 1407(a) provides that “[w]hen civil actions involving one or more common questions of fact are

pending in different districts, such actions may be transferred to any district for coordinated or

consolidated pretrial proceedings.” “Antitrust actions present a category of actions that the

Panel almost inevitably orders transferred if there are multiple actions pending in different

districts.” MULTIDISTRICT LITIGATION MANUAL, § 5:14 (West 2014) (listing cases at n. 6). The

Panel has routinely ordered centralization of antitrust actions in the Northern District of

California alleging global cartels involving complex conspiracies in which pricing and outputs for

commoditized products have been restrained. See, e.g., In re: Xyrem (Sodium Oxybate) Antitrust

Litig., MDL No. 2966, Case No. 5:20-md-02966 (J.P.M.L. Dec 16, 2020); In re Capacitors

Antitrust Litig. (No. III), 285 F. Supp. 3d 1353 (J.P.M.L. 2017); In re Lithium Ion Batteries

Antitrust Litig., 923 F. Supp. 2d 1370 (J.P.M.L. 2013); In re Optical Disk Drive Prods. Antitrust

Litig., 701 F. Supp. 2d 1382 (J.P.M.L. 2010); In re Cathode Ray Tube (CRT) Antitrust Litig.,536 F.

Supp. 2d 1364 (J.P.M.L. 2008); In re Graphics Processing Units Antitrust Litig.,483 F. Supp. 2d

1356 (J.P.M.L. 2007); In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 228 F.

Supp. 2d 1379 (J.P.M.L. 2002). Furthermore, “[t]he Panel has regularly ordered transfer of class




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actions involving potentially overlapping or conflicting class definitions.” M ULTIDISTRICT

LITIGATION MANUAL, at § 5:14 (listing cases at n. 21).

       The same rationale for centralization and transfer applies here. As in other previous

complex conspiracy cases, the Short Squeeze Actions readily satisfy these requirements. Each

case involves substantially similar parties, transactions, and events. Plaintiffs in each action seek

class treatment of their claims—including antitrust claims—that are or nearly are the same,

alleging that on or around January 28, 2021, Defendants engaged in a conspiracy and took action

that restrained trade by prohibiting retail investors from purchasing the Relevant Securities,

rendering the market for securities anticompetitive, thus resulting in artificially set prices and

limited ability to trade the Relevant Securities. See, e.g., Cheng Compl. at ¶¶ 105-181; Cezena

Compl., ¶¶ 22-47; Curiel-Ruth Compl., ¶¶ 36-80; Kayali Compl. (C.D. Cal.), ¶¶ 19-38; Moody

Compl., ¶¶ 19-49 see also, e.g., Courtney Compl., ¶ 16-27; Dalton Compl., ¶¶ 19-29; Days Compl.,

¶¶ 13-26; Feeney Compl., ¶¶ 40-57; Fresa Compl., ¶¶ 24-34; Juncadella Compl., ¶¶ 55-66; Muncy

Compl., ¶¶ 13-25; Nelson Compl., ¶¶ 11-23; Ng. Compl., ¶¶ 20-39; Scalia Compl., ¶¶ 12-21. The

Short Squeeze Actions contain the same or nearly the same allegations arising from the same

conduct by all or nearly all of the same Defendants. See, e.g., Cheng Compl. at ¶¶ 131-181; Cezena

Compl., ¶¶ 22-47; Curiel-Ruth, ¶¶ 53-80; Kayali Compl. (C.D. Cal.), ¶¶ 19-38; Moody Compl.,

¶¶ 19-49; see also, e.g., Courtney Compl., ¶ 16-27; Dalton Compl., ¶¶ 19-29; Days Compl., ¶¶ 13-

26; Feeney Compl., ¶¶ 29-57; Fresa Compl., ¶¶ 24-34; Juncadella Compl., ¶¶ 55-66; Muncy

Compl., ¶¶ 13-25; Nelson Compl., ¶¶ 11-23; Ng Compl., ¶¶ 23-39; Scalia Compl., ¶¶ 12-21. All

Short Squeeze Actions contain allegations that track the Cheng complaint very closely. See Cheng

Compl. at ¶¶ 105-181; Cezena Compl., ¶¶ 22-47; Curiel-Ruth Compl., ¶¶ 53-80; Days Compl.,

10-26; Kayali Compl. (C.D. Cal.), ¶¶ 19-38; Moody Compl., ¶¶ 19-49; see also, e.g., Courtney

Compl., ¶ 16-27; Dalton Compl., ¶¶ 19-29; Feeney Compl., ¶¶ 29-57; Fresa Compl., ¶¶ 24-34;

Juncadella Compl., ¶¶ 55-66; Muncy Compl., ¶¶ 13-25; Nelson Compl., ¶¶ 11-23; Ng Compl., ¶¶

23-39; Scalia Compl., ¶¶ 12-21. Accordingly, common questions of fact predominate.




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           b. Transfer and consolidation for pretrial proceedings will further the
              convenience of parties and witnesses and promote the just and efficient
              conduct of this litigation.

       Such transfers are appropriate when they are “for the convenience of parties and

witnesses” and “promote the just and efficient conduct of such actions.” 28 U.S.C. § 1407(a);

see also In re Restasis (Cyclosporine Ophthalmic Emulsion) Antitrust Litig., 289 F. Supp. 3d 1332,

1334 (J.P.M.L. 2018). The Panel has found that the convenience requirement is met when

transfer and consolidation “will eliminate duplicative discovery, the possibility of inconsistent

rulings on class certification and other pretrial matters, and conserve judicial and party

resources.” In re Sensipar (Cinacalcet Hydrochloride Tablets) Antitrust Litig., 412 F. Supp. 3d 1344,

1346 (J.P.M.L. 2019); see also MULTIDISTRICT LITIGATION MANUAL (Fourth), §20.131 (2010)

(“The objective of transfer is to eliminate duplication in discovery, avoid conflicting rulings and

schedules, reduce litigation cost, and save the time and effort of the parties, the attorneys, the

witnesses, and the courts.”).

       Here, the convenience of the parties and witnesses favors centralization in a single

district. Discovery proceedings and motion practice in the Short Squeeze Actions will be

essentially identical. Plaintiffs will request the same documents and data, depose and call to

testify the same witnesses, and serve the same or similar interrogatories. The motions to dismiss,

class certification, and motions for summary judgment will raise the same issues. The Short

Squeeze Actions also include numerous parties—many of which overlapping. This means that

extensive discovery and motion practice will likely be required, and the efficiencies gained

through centralized and consolidated proceedings are especially large. Unless they are

transferred and consolidated in one district for pretrial purposes, discovery and pretrial

proceedings will be unnecessarily duplicative.

       The Short Squeeze Actions, as well as any further subsequently filed securities cartel

cases undoubtedly will involve overlapping discovery over at least the following topics, identified

by way of example and not limitation:



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              The specific securities for which Defendants conspired to artificially set prices
               and restrict trading, and their justifications for doing so (See, e.g., Cheng Compl.
               ¶¶ 115-181; Cezena Compl., ¶¶ 44-46; Curiel-Ruth Compl., ¶¶ 36-80; Kayali
               Compl. (C.D. Cal.), ¶¶ 19-38); Moody Compl., ¶¶ 40-42; see also, e.g., Courtney
               Compl., ¶¶ 16-22; Dalton Compl., ¶ 27; Hiscock Compl., ¶¶ 37-48; Feeney Compl.,
               ¶ 1; Fresa Compl., ¶ 1; Juncadella Compl., ¶¶ 57-61, 63-64; Nelson Compl., ¶¶ 14-
               23; Ng Compl., ¶¶ 24-37; Scalia Compl., ¶¶ 15-19);

              The temporal scope of Defendants’ conspiracy, the breadth of the conspiracy
               involving the securities at issue in the conspiracy’s agreements, and their
               concerted and coordinated actions in furtherance of their conspiracy (Cheng
               Compl. ¶¶ 112-181; Cezena Compl., ¶¶ 22-47; Curiel-Ruth Compl., ¶¶ 36-80;
               Kayali Compl. (C.D. Cal.), ¶¶ 19-38; Moody Compl., ¶¶ 19-49; see also, e.g.,
               Courtney Compl., ¶¶ 11-27 ); Dalton Compl., ¶¶ 22-27; Days Compl., 13-26;
               Hiscock Compl., ¶¶ 37-48; Feeney Compl., ¶¶ 40-57; Fresa Compl., ¶¶ 24-27;
               Juncadella Compl., ¶¶ 55-65; Muncy Compl., ¶¶ 19-25; Nelson Compl., ¶¶ 14-23;
               Ng Compl., ¶¶ 23-39; Scalia Compl., ¶¶ 15-21);

              The impact of Defendants’ concerted and coordinated actions on the price and
               Retail Investors’ ability to purchase the Relevant Securities (Cheng Compl. ¶¶
               131-181; Cezena Compl., ¶¶ 22-47; Curiel-Ruth Compl., ¶¶ 36-80; Days Compl.,
               ¶¶ 10-26; Kayali Compl. (C.D. Cal.), ¶¶ 19-38; Moody Compl., ¶¶ 19-49; see, e.g.,
               Courtney Compl., ¶¶ 11-27; Days Compl., ¶¶ 13-26; Feeney Compl., ¶¶ 40-57;
               Fresa Compl., ¶¶ 30-34; Juncadella Compl., ¶¶ 55-65; Muncy Compl., ¶¶ 13-25;
               Nelson Compl., ¶¶ 14-23; Ng Compl., ¶¶ 23-39; Scalia Compl. ¶¶ 15-21); and

              Defendants’ pretextual justifications to the market for suppression of price of the
               Relevant Securities and the trading restrictions imposed on the Relevant
               Securities. (See, e.g., Cheng Compl. ¶¶ 158-167, 172; Curiel-Ruth Compl. ¶¶ 71-78;
               Feeney Compl., 56; Muncy Compl., ¶ 21; see also Ng Compl., ¶ 39) .

       Centralization at this early stage will allow the parties and the presiding court to address

this overlapping discovery in an organized and efficient manner, and will avoid the costly

duplication of effort and expenditure of resources that would result if the cases were to proceed

on separate schedules in separate courts. See, e.g., Lithium Ion Batteries Antitrust Litig., 923 F.

Supp. 2d at 1371 (centralization would “eliminate duplicative discovery; prevent inconsistent

pretrial rulings, including with respect to class certification; and conserve the resources of the

parties, their counsel, and the judiciary”).




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         Many of the central questions of fact are common to all of the Short Squeeze Action

plaintiffs’ claims. Accordingly, coordinated proceedings would conserve judicial resources,

ensure consistent results, and greatly benefit the parties, witnesses, and the judicial system. The

parties and the Court will benefit from these efficiencies should the Panel transfer the Short

Squeeze Actions to a single forum. The transferee judge will be able to form a single, unified

pretrial program that minimizes the inconvenience and overall expense for all parties and

witnesses.

   II.       THE NORTHERN DISTRICT OF CALIFORNIA IS THE MOST
             APPROPRIATE FORUM FOR CENTRALIZING ALL SECURITIES
             CONSPIRACY CASES

         In determining where to transfer an MDL action, the Panel generally considers “where

the largest number of cases is pending, where discovery has occurred, where cases have

progressed furthest, the site of the occurrence of the common facts, where the cost and

inconvenience will be minimized, and the experience, skill, and caseloads of available judges.”

MANUAL FOR COMPLEX LITIGATION (Fourth) § 20.131 (2004). As discussed below, these factors

support transfer to the Northern District of California.

             a. The Largest Number of Cases are Pending in the Northern District of
                California and the Short Squeeze Actions Have Progressed the Furthest in
                the Northern District of California.

         The venue of actions pending is a “very important factor” to the Panel, and “the Panel

will not normally transfer actions to a district in which no action is then pending.”

MULTIDISTRICT LITIGATION MANUAL (Fourth), § 6:8. The Northern District of California is the

best venue for transfer and consolidation because a plurality (10 of 42) of the total cases filed are

pending in this district. In comparison, there are five cases pending in the Northern District of

Illinois, four cases pending in the Middle District of Florida, four cases pending in the Southern

District of Florida, three cases pending in the Central District of California, three cases pending




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in the District of New Jersey, two cases pending in the District of Connecticut, two cases pending

in the Southern District of New York, and a single case each pending in other districts.

       The Cheng Action, filed February 1, 2021, was one of the first antitrust conspiracy cases

related to the trading restrictions of the Relevant Securities on or around January 28, 2021 filed in

the nation. Plaintiffs have been actively managing the litigation from the beginning. Plaintiffs

have perfected service with a significant number of Defendants, with many more soon expected

to follow. This is significant because Plaintiffs included the largest number of defendants,

including all or nearly all of the Defendants named in the other Short Squeeze Actions name

piecemeal. In addition, Plaintiffs have begun engaging with Defendants’ counsel to coordinate

next-steps and to determine the most expeditious and efficient resolution of the litigation.

           b. The Northern District is a Convenient Forum with Significant Ties to Short
              Squeeze Actions.

       For at least two reasons, the Northern District of California is the most convenient

geographic location for the parties and the witnesses in all of the currently filed Short Squeeze

Actions and for any other Relevant Securities-related conspiracy cases to be filed.

       First, eight Defendants named in the Short Squeeze Actions—a plurality—are

corporations with their principal places of business in the Northern District of California, more

than any other judicial district the nation. These include Defendants at the core of the

conspiracy, including but not limited to Defendants Charles Schwab Corporation; Charles

Schwab & Co. Inc.; Robinhood Financial, LLC; Robinhood Markets, Inc.; Alpaca Securities

LLC, Square Inc.; FF Trade Republic Growth, LLC; and Sequoia Capital Operations LLC.

These Defendants would benefit from the convenience of an MDL location in San Francisco to

minimize the burdens associated with travel and communication spanning multiple time zones.

See In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 228 F. Supp. 2d at 1381

(transferring to Northern District of California would provide “an accessible and convenient

location”). Further, regarding witnesses residing outside of the Northern District of California,

any “concern about the cost of transporting witnesses is unwarranted because a witness is usually




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deposed at or near his place of residence. See Fed. R. Civ. P. 45(d)(2).” In re Holiday Magic Sec.

and Antitrust Litig., 372 F. Supp. 1167, 1168 (J.P.M.L. 1974).

       Notwithstanding whether the underlying contracts are applicable to the plaintiffs’ case,

many Defendants have included provisions submitting to the personal jurisdiction of the state

and federal courts of the state of California (see e.g., Schwab Terms and Conditions, ¶ 18(2);

Square Terms and Conditions ¶ 21), and selecting the laws of the State of California to be the

governing law (see, e.g., Robinhood Terms and Conditions, ¶ 37(k); Alpaca Terms and

Conditions, ¶ 30(i); Schwab Terms and Conditions, ¶ 15; Square Terms and Conditions, ¶ 22).

       Second, Plaintiffs are both located in the Northern District of California. Additionally,

many of the plaintiffs in the Short Squeeze Actions are located in the Northern District of

California, and more still within California as a whole.

       It is therefore fair to presume that a significant volume of discoverable documents and a

significant number of key witnesses are located in California—including Defendants’ high-

ranking executives. See In re Online DVD Rental Antitrust Litig., 609 F. Supp. 2d 1376, 1377

(J.P.M.L. 2009) (transferring cases to district because “two of the defendants are headquartered

in that district and, accordingly, relevant documents and witnesses are likely located there”).

Each of these factors is significant on its own. When taken together, these factors present a

strong case for centralization and transfer of all Short Squeeze Actions to the Northern District

of California. Transfer there would certainly “promote the just and efficient conduct of such

actions” and ensure “the convenience of parties and witnesses.” 28 U.S.C. § 1407(a).

           c. The Northern District of California Has the Capacity, Expertise and
              Resources to Handle this Litigation Efficiently
       The Northern District of California has the desired judicial experience, capacity, and

resources to manage MDL proceedings in general and complex antitrust class actions in

particular. See In re Int’l Air Transp. Surcharge Antitrust Litig., 460 F. Supp. 2d 1377, 1379

(J.P.M.L. 2006) (noting that the Northern District of California is “well equipped with the

resources that this complex antitrust docket is likely to require”); In re Transpac. Passenger Air




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  Transp. Antitrust Litig., 536 F. Supp. 2d 1366, 1367 (J.P.M.L. 2008) (transferring antitrust MDL

  to the Northern District of California); In re Lithium Ion Batteries Antitrust Litig., MDL 2420,

  Case No. 4:13-md-2420 (N.D. Cal. 2012); In re TFT-LCD (Flat Panel) Antitrust Litig., MDL

  1827, Case No. 3:07-md-1827 (N.D. Cal. 2007); In re Capacitors Antitrust Litig. (No. III), 285 F.

  Supp. 3d 1353 (J.P.M.L. 2017); In re: Xyrem (Sodium Oxybate) Antitrust Litigation, MDL No.

  2966, Case No. 5:20-md-02966; see also In re Juul Labs, Inc. Mktg., Sales Pracs., and Prods. Liab.

  Litig., 396 F. Supp. 3d 1366 (J.P.M.L. 2019) (consolidated ten actions to the Northern District of

  California where panel “notified of more than forty potentially-related actions”).

     III.      CONCLUSION

            For the reasons above, Plaintiffs Cheng and Sterling respectfully request that the Panel

  transfer the Short Squeeze Actions to the United States District Court for the Northern District

  of California for consolidated pretrial proceedings.



Dated: February 4, 2021                         By:          /s/ Joseph R. Saveri
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